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                    IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF TENNESSEE WESTERN DIVISION

JOHN DOE,

       Plaintiff,

v.                                                             No. 2:19-cv-02336-JTF-tmp

RHODES COLLEGE,

       Defendant.


                                STIPULATION OF DISMISSAL


       In accordance with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

notify the Court that this matter has been resolved, and the parties stipulate to the dismissal of this

action with prejudice.

                                                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was filed
electronically, and Notice of this filing will be sent by operation of the Court’s ECF system and
via Email to the below counsel of record on this the 6th day of August, 2019:

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